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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                             §
 Demetria Brooks, Individually and as Sister §
 and Personal Representative of the Estate   §            Civil Action No. _______________
 of RODERICK BROOKS deceased, And            §
 Sandra Brooks, Individually and as Sister   §
 and Personal Representative of the Estate   §
 of RODERICK BROOKS deceased,                §            JURY DEMANDED
                                             §
                                             §
                     Plaintiff,              §
                                             §
 v.                                          §
                                             §
 HARRIS COUNTY SHERIFF’S OFFICE, §
 GARRETT W. HARDIN, Individually and §
 as an agent and/or employee of HARRIS       §
 COUNTY SHERIFF’S OFFICE, HARRIS §
 COUNTY, HARRIS COUNTY                       §
 COMMISSIONERS COURT, HARRIS                 §
 COUNTY JUDGE LINA HIDALGO                   §

                       Defendants.

                         PLAINTIFFS’ ORIGINAL COMPLAINT

       COMES NOW, Plaintiffs DEMETRIA BROOKS-GLAZE and SANDRA BROOKS,

individually as the surviving next of kin and Independent Administrator of the Estate of Roderick

Brooks, complaining of Defendants HARRIS COUNTY, HARRIS COUNTY SHERIFF’S

OFFICE, and Garrett W. Hardin (collectively, “Defendants”) and for cause would show the

Honorable Court as follows:

                                     INDEX OF COUNTS

       Count I- 42 U.S.C. § 1983 (Garrett W. Hardin)

       Count II- Assault and Battery (Garrett W. Hardin)

       Count III- Willful and Wanton—Wrongful Death (Garrett W. Hardin)

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       Count IV- Harris County and HCSO—Institutional Liability—Survival



       Count V- Harris County and HCSO—Institutional Liability—Wrongful Death

       Count VI- 42 U.S.C. §§ 1983 and 1988/Monnell Policy Claim (The City)

                                           I.
                                  NATURE OF THE ACTION

       1.      This is an action brought against the Defendants relating to their excessive and

illegal use of force against Roderick Brooks (“Brooks”), which resulted in his wrongful death.

Acting under the color of law, Defendants acts, and omissions violated Brooks’ individual rights

under the Fourteenth Amendment of United States Constitution (the “Fourteenth Amendment”)

and, consequently, his civil rights. Plaintiff brings claims under 42 U.S.C. § 1983 (“Section 1983”)

and Texas common and statutory law.

       2.      Plaintiff alleges that Harris County Sheriff Ed Gonzalez (“Sheriff Gonzalez”) is,

and was at all relevant times mentioned, the final policymaker for the Harris County Sheriff’s

Office, with the authority for setting policies, including training of the Harris County Sheriff’s

Office Deputies and staff. Sheriff Gonzalez had a duty, but failed to implement and enforce such

policies, practices, and procedures for the HCSO that respected Brooks’ constitutional rights.

                                                II.
                                              PARTIES

       3.      Plaintiff Demetria Brooks-Glaze is a citizen of the United States and is a resident

of Harris County, Texas.

       4.      Plaintiff Sandra Brooks is a citizen of the United States and is a resident of Harris

County, Texas.


       5.      Harris County (the “County”) is, and was at all relevant times mentioned, a

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municipality duly organized and existing under the laws of Texas. The Harris County Sheriff’s

Office (“HCSO”) is an official subdivision of the County. All individuals employed by the HCSO,

are employees of the County.

         6.    Further, the County is, and was at all times mentioned, engaged in owning,

operating, maintaining, managing, and doing business as the HCSO and the business of public

safety for the residents of Harris County. All the acts and omissions complained of in this

Complaint by Plaintiff against Defendant Hardin were done and performed by him individually

and/or in his capacity as an agent, servant and/or employee of the County and/or the HCSO, and

at all relevant times they acted under the color of law. Moreover, the County and the policymaker

ratified all the acts of Defendant Hardin for which this complaint is made.

         7.    Harris County operates HCSO. Harris County funds and operates HCSO, which

along with the Harris County Commissioner’s Court, and the Harris County Judge Lina Hidalgo

are responsible for the implementation for their departments’ budgets, policies, procedures,

practices, and customs, as well as the acts and omissions, challenged by this suit. The HCSO is

also responsible for preventative, investigative, and enforcement services for all citizens of Harris

County.

         8.    Harris County may be served with citation herein by and through its agent for

service of process, Harris County Judge Lina Hidalgo, at 1001 Preston Ste. 911 Houston, Texas

77002.

         9.    Upon information and belief, Defendant Garrett W. Hardin (“Hardin”) is a resident

of Harris County. At all relevant times, Hardin was acting under color of law, that is, under the

color of the statutes, ordinances, regulations, policies, customs, and usages of the County. Moody

is being sued in his individual capacity and his official capacity as an employee of the HCSO.



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Hardin may be served at the Harris County Sheriff’s Office, 1200 Baker Street Houston, Texas

77002 or wherever he may be found.

                                             III.
                                   JURISDICTION AND VENUE

       10.     This Court has jurisdiction over the 42 U.S.C. §§ 1983 and 1988 claims raised in

this Complaint, pursuant to 28 U.S.C. §§ 1331 and 1343(3). Plaintiff invokes the supplemental

jurisdiction of this Court pursuant to 28 U.S.C. § 1367 to adjudicate pendent claims arising under

the laws of the State of Texas and seeks recovery under the Wrongful Death and Survival Statutes

of the State of Texas as allowed by law.

       11.     Venue is appropriate in the Southern District of Texas under 28 U.S.C. § 1391

because Defendants reside, and the acts complained of arose, in the Southern District of Texas.

       12.     The amount of controversy exceeds $75,000 exclusive of interest and costs.

                                              IV.
                                     FACTUAL ALLEGATIONS

       13.      Plaintiffs incorporate and reallege herein by reference paragraphs 1 through 11,

inclusive, as though set forth fully herein.

A.     MURDER OF RODERICK BROOKS

       14.     On or about July 8, 2022, HCSO Deputy Sergeant Garrett W. Hardin responded to

a 911 call from a Dollar General employee related to shoplifting on the 15000 block of Kuykendahl

in Harris County. In the audio, the Dollar General Employee claimed Roderick had shoplifted, that

he pushed her arm when he left the store, and that she didn’t think he posed any immediate threat

to officers. While in hot pursuit in his vehicle, Hardin left his vehicle unoccupied and in reverse.

Upon arriving on the scene, Hardin sees Roderick and begins to chase him on foot.

       15.     Hardin closed the distance on foot with Roderick and then proceeded to use his

taser violating HCSO policy by tasing a subject while they are running and tasing a subject who
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has not committed or was wanted for a felony offense.1

           16.     As Roderick is being tased, Hardin continued to violate HCSO’s taser policy by

tackling Roderick, placing him face down on the pavement, while kneeling on his back and

punching him in the face.2 After punching Roderick indiscriminately, Hardin placed his taser-

which was still connected to Roderick- on the ground near Roderick’s head. Hardin then pulls his

service weapon.

           17.     As Roderick is being punched by officer Hardin, the taser continues to send shocks

through Roderick’s body. Roderick is seen grabbing the taser by his head, but quickly drops it after

Hardin tells him he will “fucking kill…shoot” him if he doesn’t put the taser down. After Roderick

put the taser down, Hardin then shoots him in the back of the neck. Roderick ultimately died due

to the gunshot wound. Bystanders noted that Hardin had Roderick subdued and in custody before

shooting him to death. 3

           18.     Roderick’s death in police custody was avoidable and he would be alive today if

Defendants Harris County and the Harris County Sheriff’s Office had policies in place to prevent

Defendant Hardin from murdering Roderick.

           19.     The wrongful and inexcusable death of Roderick is a violation of his individual



1
  Deputies may use the CED only when circumstances known to or perceived by the individual deputy, at the time,
indicate the application of the CED is reasonable to subdue or control: A person fleeing apprehension of a deputy
known to have committed or wanted for a felony offense. https://hcsopolicy.com/policy/503-use-of-conducted-
electrical-weapons-cew/ Fleeing/Evading should not be the sole justification for using a CED against a
subject. https://hcsopolicy.com/policy/503-use-of-conducted-electrical-weapons-cew/
When practicable, avoid using a CED on a person in the following circumstances unless the situation justifies an
increased risk: Is running or moving under momentum https://hcsopolicy.com/policy/503-use-of-conducted-
electrical-weapons-cew/
2
  Deputies should avoid attempting to control continued resistance or exertion by pinning the subject to the ground
or against a solid object, using their body weight. If body weight is needed to secure the subject, deputies should
place their knee on the shoulder area of the subject. Placement of body weight on the subject’s back or stomach
while in the prone position may cause positional asphyxia. https://hcsopolicy.com/policy/503-use-of-conducted-
electrical-weapons-cew/
3
    Exhibit A. Witness Rhonda Rochelle Foster’s Affidavit

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rights under the Fourth and Fourteenth Amendment and, consequently, a violation of his civil

rights.

          20.    Defendants are liable because they directly violated Roderick’s constitutional rights

and acted under color of law.

    B. HARRIS COUNTY SEARGENT GARRETT W. HARDIN’S HISTORY WITH USE
    OF FORCE

          21.    A week before Hardin murdered Roderick, he was involved in a “questionable

incident.” It was reported in the media that Hardin was among a group of officers who responded

to an auto-pedestrian accident in Harris County. A man, who was alleged to be under the influence,

was on the ledge of an overpass. Hardin approached this man and used his stun gun on him. Due

to this use of force, the man fell off the overpass. Media reports say he fell 35 feet below, and was

critically injured. 4

          22.    HCSO policy states deputies should avoid using a taser on someone who is on an

“elevated or unstable surface such as a tree, roof, ladder, ledge, balcony, porch, bridge or stair,” or

on someone who “could fall and suffer serious injury to the head or other area.” Even though

Hardin violated HCSO policy, he was not placed on administrative leave, nor was he taken off

field duty. A week later, he murdered Roderick Brooks.

          23.    In 2011, Hardin used lethal force against another Harris County Citizen in an

unrelated incident. The case was sent to Grand Jury by the Harris County District Attorney’s

Office. The Harris County Sheriff’s Office decided against taking disciplinary action.




4
 “Harris Co. sergeant accused of killing assault suspect involved in questionable incident week before”
https://abc13.com/harris-county-sgt-garrett-hardin-sergeant-under-investigation-roderick-brooks-killed/12050450/


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      EXCESSIVE FORCE BY DEFENDANT (Individually and in his Official Capacity)
                      COUNT I - 42 U.S.C. § 1983 (Hardin)

    Plaintiff re-alleges Paragraphs 1-22 of the Complaint.

        24.     This is an action for damages against Defendant Hardin for deprivation of Brooks’

Fourth and Fourteenth Amendment rights in violation of 42 U.S.C. §1983.

        25.     On July 8, 2022, Defendant Hardin acted under color of state law and pursuant to

the policy, custom, and/or usage of the Harris County Sheriff’s Office.

        26.     In the events alleged above, on or before July 8, 2022 Defendant Hardin acted

contrary to law, and intentionally, willfully, wantonly, and unreasonably deprived Brooks of his

rights, privileges, and immunities secured by the Fourth and Fourteenth Amendments including

the rights to be free from unreasonable search, seizure and excessive force by means of

unwarranted threats, and the right to be free from unlawful detention and/or arrest by police

officers acting under color of law.

        27.     Plaintiff would show that at all times material hereto, Defendant Hardin had a duty

to avoid infliction of unjustified bodily injury to Plaintiff, to protect his bodily integrity and to not

trample on his constitutional rights.

        28.     By using deadly and excessive force described in this petition when it was not

objectively reasonable to do so, Defendant Hardin deprived Roderick Brooks of his

constitutionally protected right of life and liberty without due process of law.

        29.     The conduct, including the actions and omissions of the Defendant while in the

course and scope of his employment was excessive and unreasonable, it was done intentionally,

willfully, maliciously, and with deliberate indifference and reckless disregard for the natural

probable consequences of his acts.


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       30.     The actions of Defendant Hardin were done without justification and no basis in

policy or reasonable standards. His actions were intentionally calculated and did cause serious

physical and emotional pain and suffering and the death of Roderick Brooks in violation of his

constitutional rights protected under 42 USC § 1983 and the 4th and 14th Amendments to the United

States Constitution including the right to be free from unreasonable search and seizure and the

right to be free from the use of excessive, unreasonable, and unjustified deadly force.

       31.     At all times, hereto, Defendant Hardin was acting under color of law as a Sheriff’s

Deputy.

       32.     Plaintiffs aver that at no time when Defendant Hardin approached Roderick Brooks

did he present an imminent threat of danger or great bodily harm to anyone in the area.

       33.     Any reasonable law enforcement officer would know or should have known of

these constitutionally protected rights at the time Hardin approached Roderick Brooks as they were

clearly established and were or should have been a part of the officers’ training.

       34.     As a direct and proximate result of the foregoing, Defendant Hardin Moody and

Ortega, individually and as an agent and/or employee of the County and HCSO, deprived Roderick

Brooks of his rights and privileges as a citizen of the United States, secured by the Fourteenth

Amendment, and caused Roderick Brooks to suffer injury and death, of which has caused the

general damages requested by Plaintiff in an amount in excess of the applicable jurisdictional

amount, to be proven at trial.

       35.     The claims and causes of action for injuries to the health, reputation and person

sustained by Roderick Brooks are brought in this action pursuant to the Survival Act Texas Civil

Practice and Texas Practice and Remedies Code § 71.021.

       36.     The claims and causes of action for the wrongful death of Roderick Brooks are


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brought by his next of kin Demetria Brooks-Glaze on behalf of herself and all rightful heirs,

pursuant to Texas Civil Practice and Remedies Code §§ 71.002-004.

                                       Count II – Assault and Battery

        Plaintiff re-alleges paragraphs 1-42 of the Complaint.

        37.     On or about July 8, 2022, Defendant Hardin committed a battery upon Roderick

Brooks when he intentionally, knowingly, and/or recklessly shot Roderick Brooks in the back of

his neck causing severe bodily injury and death.

        38.     On or about July 8, 2022, Defendant Hardin committed an assault upon Roderick

Brooks when he intentionally, knowingly, and/or recklessly pointed a taser at Roderick Brooks.

        39.     On or about July 8, 2022, Defendant Hardin committed assault and battery upon

Roderick Brooks when he intentionally, knowingly, and/or recklessly used excessive force on

Roderick Brooks.

        40.     Defendant Hardin was not privileged to take the action or use force, and such action

was not necessary under the circumstances.

        41.     As a direct and proximate result of the foregoing, Defendant Hardin, individually

as an agent and/or employee of Harris County, Texas and HCSO, assaulted and battered Roderick

Brooks, and Defendant Hardin caused Roderick Brooks to suffer injury and death, of which has

caused the general damages requested by Plaintiff in an amount in excess of the applicable

jurisdictional limit, to be proven at trial.

        42.     The claims and causes of action for injuries to the health, reputation, and person

sustained by Roderick Brooks are brought in this action as an alternative pendent state law claim

pursuant to Texas Penal Code section 22.01.

                           Count III – Willful and Wanton –Survival (Hardin)


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        Plaintiff re-alleges paragraphs 1-48 of the Complaint.

       43.      Prior to July 8, 2022, Defendant Hardin was reprimanded for unprofessional

conduct. Also, Defendant Hardin approximately a week before violating Roderick Brooks’ civil

rights put another Harris County citizen in the hospital by using excessive force.

       44.      Prior to July 8, 2022, Harris County and the HCSO knew or should have known

that Defendant Hardin exhibited a pattern of escalating encounters with the public.

       45.      On July 8, 2022, Defendant Hardin acted under color of law.

       46.      In the events alleged above, Defendant Hardin acted contrary to law, and

intentionally, willfully, wantonly, and unreasonably deprived Roderick Brooks of his rights,

privileges, and immunities secured by the U.S. Constitution and 42 U.S.C. § 1983.

       47.      The above-described acts and omissions by Defendant Hardin demonstrated a

deliberate indifference to and conscious disregard for the constitutional rights and safety of

Roderick Brooks. Defendant Hardin was not privileged in his actions, failed to follow proper

police protocol and violated Roderick Brooks 4th and 14th amendment rights.

       48.      As a result of Defendant Hardin’s violations of Roderick Brooks’ constitutional

rights, Roderick Brooks suffered substantial injuries, including but not limited to physical injury,

pain and suffering, mental anguish, damages and, ultimately, death.

       49.      Roderick Brooks exercised his rights, or attempted to do so, under the United States

Constitution.

       50.      Defendant Hardin deprived Roderick Brooks of his rights guaranteed by the United

States Constitution and federal statutes. Defendant Hardin intentionally tased Roderick Brooks

violating his rights and intentionally shot him in the back of the neck while he was unarmed in

violation of his Constitutional protected rights.


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       51.     As a direct and proximate result of the foregoing, Defendant Hardin individually

and as an agent and/or employee of Harris County and the HCSO, deprived Roderick Brooks of

his rights and privileges as a citizen of the United States and Defendant caused Roderick Brooks

to suffer injury and death, of which has caused the general damages requested by Plaintiff in an

amount in excess of the applicable jurisdictional amount, to be proven at trial.

       52.     The claims and causes of action for injuries to the health, reputation and person

sustained by Roderick Brooks are brought in this action pursuant to the Survival Act, Texas Civil

Practice and Remedies Code section 71.021.



         Count IV – HARRIS COUNTY AND HCSO—INSTITUTIONAL LIABILITY—
                                   SURVIVAL

       Plaintiff re-alleges paragraphs 1-35 of the Complaint.

       53.     Prior to July 8, 2022, Defendant Hardin was reprimanded for unprofessional

conduct. Also, Defendant Hardin approximately a week before violating Roderick Brooks’ civil

rights put another Harris County citizen in the hospital by using excessive force.

       54.     Prior to July 8, 2022, Defendant Harris County and the HCSO knew or should have

known that Defendant Hardin exhibited a pattern of escalating encounters with the public.

       55.     Prior to July 8, 2022, and at all times relevant Defendant Harris County and the

HCSO was responsible for training its law enforcement officers, including but not limited to

Defendant Hardin with regard to not violating citizens’ 4th and 14th amendment rights, but failed

to fully, adequately, and properly do so.

       56.     Prior to July 8, 2022, and at all times relevant, Defendant Harris County and the

HCSO failed to properly evaluate its law enforcement personnel’s qualifications, training,

demeanor, and fitness-for-duty as Harris County Sheriff’s Deputies, including but not limited to,

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Defendant Hardin.

        57.    Defendant Hardin was acting under color of law and acting pursuant to customs,

practices and policies of Harris County and the HCSO in regards to the use of excessive force on

Roderick Brooks as authorized and/or ratified by the Policymakers, specifically, Harris County

Judge Lina Hidalgo, Harris County Sheriff Ed Gonzalez and the Harris County Commissioners’

Court. Roderick Brooks was deprived of rights and privileges secured to him by the Fourth

Amendment to the United States Constitution and by other laws of the United States, by Harris

County, Texas failing to provide proper training in the proper use of excessive force, investigatory

techniques and wrongful detentions in violation of 42 U.S.C. § 1983 and related provisions of

federal law and in violation of the above cited constitutional provisions.

        58.    With respect to the claims made the basis of this lawsuit, Harris County and the

HCSO failed to train adequately its employees regarding the proper use of force and detentions.

The failure to train its employees in a relevant respect reflects a deliberate indifference of Harris

County, HCSO, Lina Hidalgo, the Harris County Commissioners’ Court, and Harris County

Sheriff Ed Gonzalez to the rights of the County’s inhabitants and is actionable under 42 U.S.C. §

1983.

        59.    Defendant Harris County, HCSO, and Sheriff Ed Gonzalez under the direction of

the Harris County Commissioners’ Court and Harris County Judge Lina Hidalgo developed and

maintained a policy of deficient training of its sheriff’s office in the use of force, including the

proper use of force and detentions, and apprehensions of individuals. Harris County’s training is

designed and implemented by Sheriff Ed Gonzalez, under the authority of the Harris County

Commissioners’ Court and Lina Hidalgo, to act in this regard.

        60.    Sheriff Ed Gonzalez’s, under the directions of Defendant, Harris County, HCSO,



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Lina Hidalgo, and the Harris County Commissioners’ Court, failure to provide adequate training

to HCSO officers regarding the proper use of force and wrongful detentions reflect deliberate

indifference by the Policymakers and reckless and conscious disregard for the obvious risk that

deputies would use excessive or deadly force on citizens and made the violations of Roderick

Brooks’ constitutional rights a reasonable probability..

       61.     Plaintiff will show that Defendant Hardin’s actions were the result of, or within the

scope of, wrongful and reckless customs, policies, practices and/or procedures for with Sheriff Ed

Gonzalez, the County, Lina Hidalgo and the Commissioners’ Court knew or should have known

but never provided the requisite and proper training. There have been similar incidents with

Defendant Hardin, which have resulted in the use of a taser weapon against other African American

men and other instances of misuse of force.

       62.     On information and belief, Defendant Harris County, HCSO Sheriff Ed Gonzalez

and Harris County Judge Lina Hidalgo, acting through official policies, practices, and customs,

and with deliberate, callous, and conscious indifference to the constitutional rights of Roderick

Brooks failed to implement and/or enforce the policies, procedures, and practices necessary to

provide constitutional equal protections to Roderick Brooks.

       63.     As a result of these Constitutional violations to Roderick Brooks and the injuries

he sustained, Plaintiff seeks compensation as set forth more specifically in the section of this

Complaint entitled “Damages.”

       64.     The claims and causes of action for injuries to the health, reputation and person

sustained by Roderick Brooks are brought in this action pursuant to the Survival Act, Texas Civil

Practice and Remedies Code section 71.021.

                                              Count V

             Harris County and HCSO—Institutional Liability—Wrongful Death
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       Plaintiff re-alleges Paragraphs 1-63 of the Complaint.

       65.     On July 8, 2022, Defendant Hardin was an agent and/or employee of Harris County

through his employment at the Harris County Sheriff’s Office.


       65.     In the events alleged above, Harris County, by and through its agent and/or

employee, Defendant Hardin, and others, acted contrary to law, and intentionally and

unreasonably deprived Roderick Brooks of his rights, privileges, and immunities secured by the

U.S. Constitution and 42 U.S.C. § 1983 in a willful and wanton fashion.


       66.     The above described acts and omissions by Defendants demonstrated a deliberate

indifference to and conscious disregard for the constitutional rights and safety of Roderick

Brooks.


       67.     As a result of the violation of Roderick Brooks’ constitutional rights by Harris

County and the HCSO’s agents and/or employees, Defendant Hardin, and others, Roderick

Brooks suffered substantial injuries, damages and, ultimately death.


       68.     On or about July 8, 2022, at various points in time, Roderick Brooks had his 4th

and 14th amendment protections violated by Defendant Hardin.


       69.     On or about July 8, 2022, Defendant HCSO and Hardin, and others were willful,

wanton, and recklessly exhibited a conscious disregard for the safety of Roderick Brooks by

using excessive force and failing to keep him free of injury, harm, and death.


       70.     Defendant Harris County, by and through its agents and/or employees, Defendant

Hardin, and others, deprived Roderick Brooks of his rights guaranteed by the United States

Constitution and federal statutes.


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       71.     As a direct and proximate result of the foregoing, Defendant, Harris County, by

and through its agents and or employees, including Defendant Hardin, and others, deprived

Roderick Brooks of his rights and privileges as a citizen of the United States, and cause Roderick

Brooks to suffer injury and death, of which has caused the general damages requested by

Plaintiff in an amount in excess of the applicable jurisdictional amount, to be proven at trial.


       72.     The claims and causes of action for the wrongful death of Roderick Brooks are

brought by his next of kin and personal representatives of his estate Demetria Brooks-Glaze and

Shannon Brooks, pursuant to Texas Civil Practice and Remedies Code sections 71.002-004.


              Count VI – 42 U.S.C. §§ 1983 and 1988/Monnell Policy Claim (The City)

Plaintiff re-alleges paragraphs 1 through 72 of the Complaint.

       73.     The actions of Defendants, which resulted in Roderick Brooks’ death, were done

pursuant to one or more interrelated de facto as well as explicit policies, practices and/or customs

of the Defendant, Harris County and the HCSO.

       74.     Defendants Harris County and the HCSO, acting at the level of official policy,

practice, and custom, with callous, conscious, unreasonable and deliberate indifference to

Roderick Brooks’ constitutional rights, authorized, tolerated, and institutionalized the practices

and ratified the illegal conduct herein detailed. At all times material to this Complaint Harris

County and the HCSO, its Boards, its Personnel Divisions, their agents and/or officials had

interrelated de facto policies, and customs which include, inter alia:

               a. Utilizing or condoning the use of excessive force;

               b. Failing to properly train, supervise, discipline, transfer, monitor, counsel and

                   otherwise control patrolmen and/or officers;



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               c. Failing and refusing to correct, discipline, and follow up on the actions of

                     Defendant Hardin;


               75.      All the policies set forth above were adopted, implemented, supplemented,

                        reinforced, promulgated, and effected, as a further matter of custom,

                        practice, and policy. Said policies were also a driving force in Roderick

                        Brooks’ death by means and failure of the County to hire, train, discipline

                        and supervise HCSO deputies. By their deliberate indifference, Defendants

                        Harris County and the HCSO implemented and encouraged policies,

                        practices, and customs with deliberate indifference to the rights of citizens.

       76.     Said interrelated policies, practices, and customs, as set forth above, both

individually and together, were maintained and implemented with deliberate indifference and were

unreasonable; and encouraged, inter alia, the failure to adequately conduct investigatory

detentions and lawful arrests.

       77.     As a direct and proximate result of the acts and conduct of Defendant, Roderick

Brooks suffered injury and death.

                                                DAMAGES

       78.     Defendants are jointly and severally liable for the wrongs complained of herein,

either by virtue of direct participation or by virtue of encouraging, aiding, abetting, committing,

and/or ratifying and condoning the commission of the above described acts and/or omissions.

       79.     Plaintiff and Plaintiff’s Decedent suffered compensatory, special, and punitive

damages for the following:

               a. Extreme mental anguish and emotional distress as a result of being physically

                     assaulted, and battered by Defendant Hardin;

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               b. Extreme physical abuse, mental anguish and emotional distress as a result of

                   the intentional infliction of emotional distress to which Defendant Hardin

                   subjected Roderick Brooks;

               c. Violation of Roderick Brooks’ civil rights by defendant Hardin, Harris County

                   and the Harris County Sheriff’s Office; and

               d. Punitive damages for egregious acts and omissions of Defendants Hardin,

                   Harris County, and the Harris County Sheriff’s Office.

               e. Plaintiff is entitled to attorney’s fees for litigation of this matter; and

               f. Plaintiff requests and is entitled to a trial by jury.

                                       PRAYER FOR RELIEF

       Demetria Brooks-Glaze and Sandra Brooks, as siblings and Personal Representatives of

the estate of Roderick Brooks, deceased, prays that for judgment on his behalf and against all

defendants jointly, severally and in solido, as follows:

               a. Compensatory, special, and punitive damages;

               b. Plaintiff seeks declaratory relief that Defendants violated Roderick Brooks’

                   rights under the U.S. Constitution and 42 U.S.C. § 1983;

               c. Judicial interest from date of judicial demand;

               d. Prejudgment and post-judgment interest as provided by law; and

               e. Such further relief as this Court deems just and equitable.

                                         JURY DEMAND

                Plaintiff hereby requests a trial by jury.




                                                       Respectfully submitted,


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